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AFFIDAVIT OF SERVICE THROUGH THE SECRETARY OF STATE

UNITED STATES DISTRICT COURT Purchased/Filed: April 23, 2024

FOR THE SOUTHERN DISTRICT OF NEW YORK Index# 1:24-cv-03041
J. Richard Marino Plaintiff
against
Siegel & Reiner, LLP et al. Defendant
STATE OF NEW YORK Ss.
COUNTY OF ALBANY .
Scott Schuster , being duly sworn, deposes and says: deponent is over
the age of eighteen (18) years: that on April 25, 2024 ,at 11:00AM , at the office of the

Secretary of State of the State of New York in the City of Albany, New York deponent served the annexed

Summons in a Civil Action and Complaint and Demand for Jury Trial
on

Siegel & Reiner LLP , the

Defendant in this action, by delivering to and leaving with Sue Zouky

AUTHORIZED AGENT in the Office of the Secretary of State, of the State of New York, personally at the Office of
the Secretary of State of the State of New York, 99 Washington Avenue, Albany, NY, 2 true copies thereof and that
at the time of making such service, deponent paid said Secretary of State a fee 40 dollars; That said service was

made pursuant to Section 121-1505 Limited Liability Partnership Law. Deponent further says that deponent knew

the person so served as aforesaid to be the agent in the Office of the Secretary of State of the State of New York,

duly authorized to accept such service on behalf of said defendant

5'1

. Wt: Approx. Ht:

Description of the person served: Approx. Age: Over 65 Appr, 125lbs

Other:

Color of skin: | White Hair color: Red/Blonde Sex: Femafe

Sworn to before me on this _

25th day of April 2024

Hap

HEATHER MORIGERATO
NOTARY PUBLIC, STATE OF NEW YORK Scott Schusté

QUALIFIED IN ALBANY COUNTY Attny's File No. 2336.01
COMMISSION EXPIRES MAY 14, 2028
Invoice-Work Order # S1908000

SERvico. Inc.. P.O. Box 871. ALBANY. NY 12201

MFS 2024-00018
